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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG               MDL NO. 2179
“DEEPWATER HORIZON” in the
GULF OF MEXICO, on April 20, 2010             SECTION:       J

                                              JUDGE BARBIER

                                              MAGISTRATE JUDGE SHUSHAN
THIS DOCUMENT RELATES TO:
2:10-cv-03168


                                             ORDER

       Considering the Defendant M-I L.L.C.’s Motion to Dismiss Plaintiffs’ Sixth Amended

Complaint for failure to state a claim pursuant to Fed. R. Civ. P. 12(b)(6):

       IT IS HEREBY ORDERED that Defendant M-I L.L.C.’s motion to dismiss is denied.

       New Orleans, Louisiana, this ____ day of August, 2011.



                                              ______________________________________
                                              UNITED STATES DISTRICT JUDGE
